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Counsel to the Official Committee
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
In re:                                                         :   Chapter 11
                                                               :
LEXINGTON PRECISION CORP, et al.,                              :   Case No. 08-11153 (BRL)
                                                               :
                                                               :
                                    Debtors.                   :
---------------------------------------------------------------x


                          CERTIFICATION OF PAUL N. SILVERSTEIN

        Paul N. Silverstein, certifies as follows:

                 1. I have been designated by Andrews Kurth LLP (the “Applicant”) as the
                    professional with responsibility in this case for compliance with the Amended
                    Guidelines for Fees and Disbursements for Professionals in Southern District
                    of New York Bankruptcy Cases adopted by the Court on April 19, 1995, and
                    the United States Trustee Guidelines for Reviewing Applications for
                    Compensation and Reimbursement of Expenses Filed Under 11 U.S.C. § 330,
                    adopted on January 30, 1996 (collectively, the “Guidelines”).

                 2. I have read the Applicant’s application for compensation and reimbursement
                    of expenses (the “Application”). The Application complies with the
                    Guidelines, and the fees and expenses sought fall within the Guidelines,
                    except as specifically noted in the certification and described in the
                    Application.

                 3. The fees and expenses sought are billed at rates and in accordance with
                    practices customarily employed by the Applicant and generally accepted by
                    the Applicant’s clients.

                 4. In seeking reimbursement for the expenditures described in Exhibit D, the
                    Applicant is seeking reimbursement only for the actual expenditure and has
                    not marked up the actual cost to provide a profit or to recover the amortized
                    cost of investment in staff time or equipment or capital outlay (except to the



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                  extent that the Applicant has elected to charge for in-house photocopies and
                  outgoing facsimile transmissions at the maximum rates permitted by the
                  Guidelines).

               5. In seeking reimbursement for any service provided by a third party, the
                  Applicant is seeking reimbursement only for the amount actually paid by the
                  Applicant to the third party.

               6. The following are the variances with the provisions of the Guidelines, the date
                  of each court order approving the variance, and the justification for the
                  variance: None.

Dated: New York, New York
       February 12, 2010

                                                     /s/ Paul N. Silverstein_______
                                                     Paul N. Silverstein




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